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                                UNITED STATES DISTRICT COURT
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                                        DISTRICT OF NEVADA
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 7   DIANA VAN BREE,
                                                            Case No.: 2:20-cv-00788-RFB-VCF
 8           Plaintiff(s),
                                                                           Order
 9   v.
10   JT4, LLC, et al.,
11           Defendant(s).
12         The ENE in this case was continued due to evolving circumstances. Docket No. 27. The
13 Court is also aware based on filings in other cases that counsel may be dealing with health issues.
14 No later than January 14, 2021, the parties must file a joint status report indicating whether they
15 believe it is best to proceed with the ENE as currently scheduled on January 19, 2021. In lieu of
16 that status report, the parties may file a stipulation to continue the ENE or may seek other relief.
17         IT IS SO ORDERED.
18         Dated: January 12, 2021
19                                                               ______________________________
                                                                 Nancy J. Koppe
20                                                               United States Magistrate Judge
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